UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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 THE UNITED STATES OF AMERICA,                              :
                                                            :
                                                            :
 v.                                                         :
                                                            :
 ROBERT C. MORGAN,                                          :   18-CR-108-EAW
                                                            :
                                     Defendant.             :
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  NOTICE OF MOTION FOR ORDER CONFIRMING THE LACK OF PRETRIAL
    RESTRAINT ON DEFENDANT ROBERT C. MORGAN’S PROPERTY AND
 ENJOINING THE GOVERNMENT AGAINST FURTHER UNLAWFUL RESTRAINT


        PLEASE TAKE NOTICE that the undersigned will move this Court at a date and time to

be determined by this Court, pursuant to Local Rule of Criminal Procedure 12 and Local Rule of

Civil Procedure 7, Defendant Robert C. Morgan (“Mr. Morgan”), for an order confirming that, in

the present criminal action pending before the Court, none of the properties in which Mr. Morgan

has an ownership interest, directly or indirectly, are currently subject to a lawful pretrial restraint

or seizure by the United States and, as such, there is no restriction or impediment on the sale,

transfer, or disposition of any proceeds of such properties at this time, pursuant to the All Writs

Act, 28 U.S.C. § 1651(a) and the inherent powers of the Court.

        Mr. Morgan further moves for an order enjoining the government from further interference

with the sale, transfer, or disposition of proceeds of any properties in which Mr. Morgan has an

ownership interest, directly or indirectly, absent an application by the government to the Court

pursuant to 21 U.S.C. § 853 and a subsequent court order from the Court; and compelling the

government to provide notice of the same to all third parties to whom the government has



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previously communicated about criminal or civil forfeiture related to this action, pursuant to the

All Writs Act, 28 U.S.C. § 1651(a) and the inherent powers of the Court.

          In further support, Mr. Morgan refers this Court to the accompanying Memorandum of

Law and the Declaration of Joel M. Cohen, with Exhibits A–R. A proposed order is also submitted.

          Oral argument is requested.

          Pursuant to Local Rule 7(a)(1), Mr. Morgan states that he intends to file and serve reply

papers.

          Mr. Morgan respectfully proposes the briefing schedule also set forth in the concurrently

filed Motion for an Expedited Hearing: the government has until Monday, July 8, 2019 to file and

serve responding papers; Mr. Morgan has until Monday, July 15, 2019 to file and serve reply

papers; and a hearing on the motion be scheduled at the Court’s convenience on or after Thursday,

July 18, 2019.




Dated: June 28, 2019
       New York, New York
                                               GIBSON, DUNN & CRUTCHER LLP



                                               By: __/s/ Joel. M. Cohen______________
                                                   Joel M. Cohen
                                                   Lee G. Dunst
                                                   Caitlin S. Walgamuth


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                                               New York, NY 10166-0193
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                                               Attorneys for Defendant Robert C. Morgan




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                                CERTIFICATE OF SERVICE
       I certify that on June 29, 2019, I filed the foregoing Mr. Morgan’s Motion for Expedited

Hearing using the Court’s CM/ECF filing system. Notice of this filing will be transmitted to all

counsel of record who are registered users of the Court’s electronic case filing system.


                                                             /s/ Joel M. Cohen
                                                                                    Joel M. Cohen
